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                                                          EXHIBIT 53
  U.S. DEPARTMENT OF THE TREASURY

  Press Center



   Treasury Designates Individuals, Entity Fueling Iraqi Insurgency
   1/9/2008




   The U.S. Department of the Treasury today designated four individuals and one entity under Executive Order 13438 for threatening the
   peace and stability of Iraq and the Government of Iraq. The individuals and entity designated today commit, direct, support, or pose a
   significant risk of committing acts of violence against Iraqi citizens, Iraqi government officials, and Coalition Forces.

   "Iran and Syria are fueling violence and destruction in Iraq. Iran trains, funds, and provides weapons to violent Shia extremist groups,
   while Syria provides safe-haven to Sunni insurgents and financiers," said Stuart Levey, Under Secretary for Terrorism and Financial
   Intelligence. "Today's action brings to light the lethal actions of these individuals, and we call on the international community to stand with
   us in isolating them from the global economy."

   By committing, directing, and supporting violent attacks in Iraq, these extremists threaten peace and stability and undermine efforts to
   promote economic reconstruction in Iraq.

   Today's action follows President Bush's issuance of E.O. 13438 on July 17, 2007, which targets insurgent and militia groups and their
   support. Designations under E.O. 13438 are administered by Treasury's Office of Foreign Assets Control and prohibit all transactions
   between the designees and any U.S. person and freeze any assets the designees may have under U.S. jurisdiction.

   Identifying Information

   AHMED FORUZANDEH
   AKAs: Ahmad Foruzandeh
   Ahmad Fruzandah
   Ahmad Fayruzi
   Jafari
   Ahmad Foroozandeh
   Abu Shahab
   Abu Ahmad Ishab
   Title: Brigadier General, Commanding Officer of the Iranian Islamic Revolutionary Guard Corps-Qods Force (IRGC-QF) Ramazan
   Corps
   Former Title: Deputy Commander of the Ramazan Headquarters and Chief of Staff of the Iraq Crisis Staff
   POB: Kermanshah, Iran
   DOB: Circa 1958-1963
   Alt. DOB: 1957
   Alt. DOB: Circa 1955
   Education: Husayni Political University
   Location: Qods Force Central Headquarters in the former U.S. Embassy Compound in Tehran, Iran

   Iran-based Ahmed Foruzandeh, a Brigadier General in the IRGC-QF, leads terrorist operations against Coalition Forces and Iraqi Security
   Forces, and directs assassinations of Iraqi figures. The Qods Force, designated under E.O. 13224 for providing material support to
   terrorists, is the regime's primary mechanism for cultivating and supporting terrorists and Islamic militants to advance Iranian national
   interests. The Qods Force provides training, weapons, and financial support to surrogate groups and terrorist organizations including:
   Lebanese Hizballah; Palestinian terrorists; Iraqi Shia militant groups; the Taliban and Islamic militants in Afghanistan, the Balkans and
   elsewhere. The Qods Force plays a central – yet often hidden – role in security interests, including Iraq and Afghanistan. Qods Force
   officers often use various cover mechanisms – including diplomatic, non-governmental organization, humanitarian, and media – for
   conducting operational activity, belying their military affiliation.

   As of mid-February 2007, Foruzandeh ordered his Iranian intelligence officers to continue targeting Shia and Sunnis to further sectarian
   violence within Iraq. Foruzandeh is also responsible for planning training courses in Iran for Iraqi militias, including Sayyid al-Shuhada and
   Iraqi Hizballah, to increase their ability to combat Coalition Forces. The training includes courses in guerilla warfare, light arms,
   marksmanship, planting improvised explosive devices (IEDs), and firing anti-aircraft missiles.

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    Foruzandeh and his subordinates provide financial and material support for acts of violence against Coalition Forces and Iraqi Security
    Forces. In early-April 2007, Foruzandeh provided $25,000 USD to help fund military operations against Coalition Forces in Salah Ad Din
    Province, Iraq. Foruzandeh provided the funds to two men claiming to be members of a Sunni terrorist organization in Iraq, promising the
    men additional funds if they would deliver videos of attacks against Coalition Forces. Foruzandeh also offered to deliver weapons to the
    border, if the two men could transport the weapons into Iraq in order to fight Coalition Forces. Previously, in August 2004, Foruzandeh
    drove explosives and associated materials into Iraq from Iran for use in suicide bombings.

    In addition to providing financial and material support for attacks against Coalition Forces, Foruzandeh supplied a certain Shia militia
    group with a target for execution. On July 25, 2005, Foruzandeh held a meeting with representatives of Iraqi Hizballah and other Shia
    militia groups, calling upon them to continue liquidating all enemies of the Islamic revolution, including security and intelligence personnel,
    tribal chiefs, and religious clerics.

    ABU MUSTAFA AL-SHEIBANI
    AKAs: Hameid Thajeil Wareij Al-Attabi
    Hamid Al-Shaybani
    Abu Mustafa Al-Shebani
    Abu Mustafa Al-Shaybani
    Mustafa Al-Sheibani
    Hamid Thajil
    Hamid Thajeel Al-Sheibani
    DOB: Circa 1960
    Alt. DOB: 1959
    POB: Nasiriyah, Iraq
    Citizenship: Iranian
    All Citizenship: Iraqi
    Location: Tehran, Iran

    Iran-based Abu Mustafa Al-Sheibani leads a network of Shia extremists that commit and provide logistical and material support for acts of
    violence that threaten the peace and stability of Iraq and the Government of Iraq. Al-Sheibani's Iran-sponsored network was created to
    affect the Iraqi political process in Iran's favor. The network's first objective is to fight U.S. forces, attacking convoys and killing soldiers. Its
    second objective is to eliminate Iraqi politicians opposed to Iran's influence. Elements of the IRGC were also sending funds and weapons
    to Al-Sheibani's network.

    Al-Sheibani's network – consisting of several hundred members – conducted IED attacks against Americans in the Baghdad region. As of
    March 2007, Al-Sheibani, known to transport Katyusha rockets to be used for attacks against Coalition Forces, launched rockets against
    Americans and made videos of the attacks to get money from Iran. As of April 2007, a member of Al-Sheibani's network supervised the
    transport of money and explosives from Iran for eventual arrival in Baghdad. In early-May 2007, Al-Sheibani's network assisted members
    of a Shia militia group by transporting them to Iran for training and providing them with weapons for their activities in Iraq.

    Additionally, Al-Sheibani commands several pro-Iranian insurgent groups in southern Iraq that work to destabilize Iraq and sabotage
    Coalition efforts. These groups use a variety of weapons, to include mortars, Katyusha rockets, and anti-tank landmines. Ordered by IRGC
    headquarters to create disorder, the task of these groups is to attack bases of Coalition Forces in southern Iraq, particularly British forces.

    In an effort to cause instability in Iraq, Al-Sheibani and his network targeted Iraqi government officials. Al-Sheibani conducted attacks
    against the Iraqi Police Chief of Najaf, Iraq, and the Iraqi Deputy Governor in Najaf, Iraq. Al-Sheibani's network also killed Muhammad al-
    Friji, a colonel in the Iraqi Ministry of Interior.

    ISMA'IL HAFIZ AL LAMI (ABU DURA)
    AKAs: Abu Dura
    Abu Diri
    Abu Dar'a
    Abu Haydar
    Ismail Hafeth Izajawi
    Ismail al-Lami
    Isma'il Hafith Abid `Ali al-Lami
    Ismai'il Hafuz al-Zargawi
    DOB: Circa 1957
    POB: Baghdad, Iraq
    Citizenship: Iraq
    Location 1: Iran
    Location 2: Sadr City, Baghdad, Iraq

    As of 2007, Iran-based Shia extremist Abu Dura and his group were actively targeting Iraqi government officials, Sunni community leaders,
    and anyone who cooperated with Coalition Forces. In a brazen daylight attack, Abu Dura and his group kidnapped employees from the

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    Ministry of Higher Education in November 2006. Sunni hostages were then singled out, tortured, and killed by men under Abu Dura's
    control. Abu Dura was also responsible for the July 2006, kidnapping of Taysir Najih Awad al-Mashadani, a Sunni member of the Iraqi
    Parliament. He also planned to kidnap Sunni Iraqi politician Adnan al-Dulaymi and planned a mortar attack against the residence of Iraqi
    Vice President Tariq al-Hashimi.

    Abu Dura also directs acts of violence against Iraqi civilians. Abu Dura uses members of a Baghdad-based Shia militia to gather
    information on potential targets. Abu Dura then uses this information to plan and coordinate potential kidnapping and assassination
    operations. In July 2006, men under Abu Dura's control routinely executed Iraqi citizens in Sadr City, Baghdad.

    In addition to directing acts of violence against Iraqi government officials and citizens, Abu Dura supported acts of violence against U.S.
    and Coalition Forces. In July 2006, men under Abu Dura's control attacked a U.S. forces patrol in Sadr City, Baghdad. The purpose of the
    attack was to kidnap U.S. soldiers and use them as a tool to make U.S. forces leave Iraq. After fleeing to Iran to avoid capture by Coalition
    Forces, Abu Dura continued to direct attacks in Iraq against Coalition Forces and Sunnis in Iraq during early-2007. Abu Dura maintained
    contact with proxies in Iraq who carried out those attacks.

    MISH'AN RAKIN THAMIN AL-JABURI
    AKAs Mushan al-Jaburi
    Meshaan al-Juburi
    Mishan Jibouri
    Mishan al-Jabouri
    Mashaan Aljabouri
    Mashaan Jabouri
    Mash'an el-Jburi
    Mish'an al-Juburi
    Mush'an al-Jiburi
    Mashan Juburi
    Mishan al-Jabburi
    Meshan Thamin al Jabouri
    Mishan Riqardh Damin al Jabouri
    Mishaan al-Jubouri
    Mashaan Rakadh Dhamin Al Jabbury
    Misham Al Jaburi
    Mish'an Rakkad Damin al-Jabburi
    Nationality: Iraq
    Citizenship: Syrian
    DOB: 1 August 1957
    POB: Ninwa, Iraq
    Passport number: 01374026
    Location 1: Latakia, Syria
    Location 2: Damascus, Syria

    Syria-based Mish'an Al-Jaburi provides financial, material, and technical support for acts of violence that threaten the peace and stability
    of Iraq. In February 2006, Al-Jaburi was expelled from the New Iraqi Parliament and fled Iraq to Syria for embezzling government funds
    and supporting Iraq-based insurgents. Al-Jaburi also owns Syria-based Al-Zawra, a television station that considers itself to be part of the
    fight against the U.S. In one instance, Al-Jaburi agreed to broadcast open-coded messages through patriotic songs to the Sunni terrorist
    group Islamic Army of Iraq. Additionally, Al-Jaburi utilized his nephew, Hasib Ismail Dandan, to provide storage sites for weapons, funds,
    and footage transiting in and out of Iraq.

    Despite being publicly critical of al-Qa'ida in Iraq (AQI), Al-Jaburi is reported to have provided financial support and services to AQI. Al-
    Jaburi worked with an AQI jihadist umbrella organization, the Mujahadin Shura Council, to fund Sunni extremist operations. Additionally,
    Al-Jaburi's television station broadcast recruitment videos for AQI's Abu Bakr Al-Sadiq Al Salafi Battalion.

    AL-ZAWRA TELEVISION STATION
    AKAs Alzawraa TV
    Al-Zawraa TV
    El-Zawra satellite station
    Zorah Channel
    Al Zoura TV station
    Al-Zawara satellite television station
    Al Zawrah Television
    Zawrah TV station
    Al Zaoura network
    Location: Syria


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   Syria-based Al-Zawra television station is owned and controlled by Mish'an Al-Jaburi. Publicly stating that he owns Al-Zawra and that "no
   one" outside his family controlled its content, Al-Jaburi privately agreed to broadcast open-coded messages through patriotic songs to the
   Sunni terrorist group the Islamic Army of Iraq. Al-Zawra, which has received financing from Al-Qa'ida, is also used as a venue to broadcast
   graphic videos of attacks against U.S. forces. Additionally, Al-Zawra broadcast recruitment videos for AQI's Abu Bakr Al-Sadiq Al-Salafi
   Battalion. In November 2006, Al-Zawra's Iraq office was closed by the Government of Iraq for airing programs inciting violence.

   In addition to the reasons for which Al-Zawra is being designated, it is a pro-insurgency station that broadcasts graphic videos of insurgent
   attacks against U.S. forces, advocates violence against Shia, and calls upon Iraqis to unite and take up arms against Coalition Forces.

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